                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

KATALIN BLOODGOOD-LOPER,                        No. 23-15109

                Plaintiff-Appellant,            D.C. No. 2:22-cv-01320-JAD-BNW

 v.
                                                MEMORANDUM*
LENARD LOPER; LVL INVESTMENTS,
LLC; MICHELLE L. MERCER,

                Defendants-Appellees.

                   Appeal from the United States District Court
                             for the District of Nevada
                   Jennifer A. Dorsey, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Katalin Bloodgood-Loper appeals pro se from the district court’s judgment

dismissing her action alleging various federal and state law claims. We have

jurisdiction under 28 U.S.C. § 1291. We review de novo a dismissal under Federal



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
Rule of Civil Procedure 12(b)(6). Hebbe v. Pliler, 627 F.3d 338, 341 (9th Cir.

2010). We affirm.

      The district court properly dismissed the claims against Judge Mercer on the

basis of judicial immunity because Bloodgood-Loper failed to allege facts

sufficient to show that Judge Mercer acted “in the clear absence of all jurisdiction

or perform[ed] an act that [was] not judicial in nature.” Schucker v. Rockwood,

846 F.2d 1202, 1204 (9th Cir. 1988) (explaining judicial immunity doctrine).

      The district court properly dismissed Bloodgood-Loper’s claims under 42

U.S.C. §§ 1983 and 1985 because Bloodgood-Loper failed to allege facts sufficient

to show that defendants acted under color of state law or conspired to deny her

equal protection of the law based on her membership in a protected class. See

Chudacoff v. Univ. Med. Ctr. of S. Nev., 649 F.3d 1143, 1149 (9th Cir. 2011)

(elements of § 1983 action); Price v. State of Hawaii, 939 F.2d 702, 707-08 (9th

Cir. 1991) (explaining state action requirement and that private parties are

generally not state actors); Karim-Panahi v. L.A. Police Dep’t, 839 F.2d 621, 626

(9th Cir. 1988) (setting forth elements of a claim under § 1985(3)).

      The district court properly dismissed Bloodgood-Loper’s Fair Housing Act

claims. Bloodgood-Loper failed to allege facts sufficient to show that defendants

                                          2                                    23-15109
engaged in conduct made unlawful by that statute “because of” Bloodgood-Loper’s

membership in a protected class. See 42 U.S.C. § 3604(a), (f) (setting forth actions

that are prohibited when they are taken “because of” one’s membership in a

protected class).

      The district court did not abuse its discretion in declining to exercise

supplemental jurisdiction over Bloodgood-Loper’s state law claims after

dismissing her federal claims. See 28 U.S.C. § 1367(c)(3) (permitting district court

to decline supplemental jurisdiction if it has “dismissed all claims over which it has

original jurisdiction”); Costanich v. Dep’t of Soc. &amp; Health Servs., 627 F.3d 1101,

1107 (9th Cir. 2010) (standard of review).

      The district court did not abuse its discretion in denying Bloodgood-Loper’s

motion to amend her complaint because further amendment would be futile. See

Chappel v. Lab. Corp., 232 F.3d 719, 725-26 (9th Cir. 2000) (providing standard

of review and explaining that a “district court acts within its discretion to deny

leave to amend when amendment would be futile . . . .”).

      The district court did not abuse its discretion in denying Bloodgood-Loper’s

motion for appointment of counsel. See Harrington v. Scribner, 785 F.3d 1299,

1309 (9th Cir. 2015) (standard of review).

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      We do not consider matters not specifically and distinctly raised and argued

in the opening brief, or arguments and allegations raised for the first time on

appeal. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009).

      Bloodgood-Loper’s pending requests, set forth in her reply brief, are denied.

      AFFIRMED.




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